Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 1 of 24 PageID: 211


                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY


       MARC A. STEPHENS,                                  CASE NO. 1:22-cv-01989-KMW-SAK
       Plaintiff,
                                                            NOTICE OF MOTION
       V.

       GURBIR S. GREWAL, ATTORNEY
       GENERAL, STATE OF NEW JERSEY,
       ATLANTIC COUNTY PROSECUTOR'S
       OFFICE, STOCKTON UNIVERSITY,
       GALLOWAY TOWNSHIP, ROBERT
       BLASKIEWICZ, JR., DETECTIVE
       SERGEANT MICHAEL MA TTEOLI, All
       Defendants sued Individually and in official
       capacity.
       Defendants



      PLEASE TAKE NOTICE that, on a date and at a time to be set by the Court, or as soon
      thereafter as counsel can be heard, Plaintiff Marc Stephens will move for an order to Dismiss
      Defendant' s Motion to dismiss the complaint.




      Dated: July 22, 2022



      Respectfully submitted,

      S// Marc Stephens
      Marc A. Stephens
      Plaintiff, pro se
                                                                                             ......,
                                                                                                =
                                                                                             ........
                                                                                             ,__,
                                                                                             (._
                                                                                             C:
                                                                                             r-




                                                                                         0
                                                                                         C:)
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 2 of 24 PageID: 212




                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


       MARC A. STEPHENS,                                  CASE NO. l :22-cv-01989-KMW-SAK
       Plaintiff,
                                                        CERTIFICATE OF SERVICE
       V.

       GURBIR S. GREW AL, ATTORNEY
       GENERAL, STATE OF NEW JERSEY,
       ATLANTIC COUNTY PROSECUTOR' S
       OFFICE, STOCKTON UNIVERSITY,
       GALLOWAY TOWNSHIP, ROBERT
       BLASKIEWICZ, JR., DETECTIVE
       SERGEANT MICHAEL MA TTEOLI, All
       Defendants sued Individually and in official
       capacity.
       Defendants



     I hereby certify that:

      1. A copy of the within Motions were filed within the time prescribed by the Rules of Court.

     2. I, the undersigned, mailed to Attorneys for the State, by the court's electronic submission,
     email & regular mail, a true copy of the within Brief and Motion.

                                                                                           ,_,
      I hereby certify that the statements made by me in this document are true. I am aware
                                                                                           =
      that if any are willfully false, I am subject to punishment.                    <::;



                                                                                            )>
     Dated: July 22, 2022
                                                                                            0



     Respectfully submitted,

     S// Marc Stephens
     Marc A. Stephens
     Plaintiff, pro se
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 3 of 24 PageID: 213



                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


                                                        CASE NO. 1:22-cv-01989-KMW-SAK
       MARC A. STEPHENS,
       Plaintiff,                                       PLAINTIFF'S RESPONSE TO
                                                        THE ATTORNEY GENERAL,
       V.
                                                        PROSECUTOR, AND MATTEOLI
                                                        DEFENDANT'S MOTION TO DISMISS
       GURBIR S. GREW AL, ATTORNEY
       GENERAL, STATE OF NEW JERSEY,
       ATLANTIC COUNTY PROSECUTOR'S
       OFFICE, STOCKTON UNIVERSITY,
       GALLOWAY TOWNSHIP, ROBERT
       BLASKIEWICZ, JR., DETECTIVE
       SERGEANT MICHAEL MATTEOLI, All
       Defendants sued Individually and in
       official capacity.
       Defendants


                                           INTRODUCTION


            The Atlantic County Prosecutor' s office, New Jersey Attorney General, Detective

   Matteoli, and Robert Blaskiewics of Stockton University, in violation of 18 U.S . Code§ 242, 42

   U.S.C. § 1983, and the New Jersey Civil Rights Act ("NJCRA"), all conspired to create "fake"

   social media and blog accounts pretending to be Marc Stephens, filed "false" complaints, and

   submitted "fabricated" evidence to a grand jury against Plaintiff Marc Stephens, in an attempt to

   suppress the videos, in Stephens' possession, of Blaskiewics and his "Skeptics Society" members

   engaging in criminal and pedophile activity. Stephens~ the criminal case and is now suing

   the defendants in civil court. The Defendants filed a Motion to Dismiss the complaint, and argue

   that although they violated Marc Stephens rights, they are "Immune" under the Eleventh

   Amendment from any liability. Stephens argues that under common law, and the United States

   Constitution, the State Defendants are not immune from liability when intentionally violating

   common law and constitutional rights.
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 4 of 24 PageID: 214



                                      STANDARD OF REVIEW


          "Pro se litigant's pleadings are not to be held to the same high standards of perfection as

   lawyers", Haines v. Kerner 404 U.S. 519 (1972) at 521. Cruz v. Beto, 405 U.S. 319,322 (1972).


          For a plaintiff to prevail against an individually named defendant under a § 1983 claim,

   the plaintiff must establish each of the following elements: 1) that the conduct complained of

   was committed by a person acting under the color of state law; 2) that this conduct deprived the

   plaintiff ofrights, privileges, or immunities secured by the Constitution or laws of the United

   States; and 3) that the defendant's acts were the proximate cause of the injuries and consequent

   damages sustained by the plaintiff. See Adickes v. S.H. Kress and Co. , 398 U.S. 144 (I 970);

   Powell v. Ridge, 189 F .3d 3 87, 400 (3d. Cir. 1999) (overruled on other grounds by Fowler v.

   UPMC Shadyside, 578 F.3d 203 (3d Cir. 2009)); Piecknick v. Pennsylvania, 36 F.3d 1250, 1255-

   56 (3d . Cir. 1994); L.S. v. Mount Olive Bd. of Educ., 765 F. Supp. 2d 648, 656 (D.N.J. 2011).


          "To demonstrate a favorable termination of a criminal prosecution for purposes of the

   Fourth Amendment claim under§ 1983 for malicious prosecution, a plaintiff need only show

   that his prosecution ended without a conviction". Thompson v. Clark, 142 S. Ct. 1332 - Supreme

   Court 2022 at 1335.


          In ruling on this motion to dismiss, the Court must accept the facts presented in the

   complaint in the light most favorable to [Plaintiff Marc Stephens] and "accept all of the

   allegations as true." ALA. Inc. v. CCAIR. Inc., 29 F .3d 855, 859 (3d Cir. 1994). In considering

   whether a complaint should have been dismissed for failure to state a claim upon which relief

   can be granted, the court must consider only those facts alleged in the complaint and accept all of

   the allegations as true. Hishon v. King & Spalding, 467 U.S. 69, 73 , 104 S.Ct. 2229, 2232, 81

   L.Ed.2d 59 (1984). Unless the plaintiff can prove no set of facts in support of the claim that

   would entitle him to relief, the complaint should not be dismissed. Conley v. Gibson, 355 U.S.
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 5 of 24 PageID: 215



   41 , 45-46, 78 S.Ct. 99, 102, 2 L.Ed.2d 80 (1957); D.P. Enters., Inc. v. Bucks County Community

   College, 725 F.2d 943 , 944 (3d Cir.1984).


           When reviewing a complaint, a court should consider not only the allegations contained

   in the complaint itself but also the exhibits attached to it which the complaint incorporates

   pursuant to Federal Rule of Civil Procedure l0(c). See Fed.R.Civ.P. l0(c) ("A copy of any

   written instrument which is an exhibit to a pleading is a part thereof for all purposes."); cf.

   Pension Benefit Guar. Corp. v. White Consol. Indus., 998 F .2d 1192, 1196 (3d Cir.1993)

   (holding that a court may also consider an "undisputedly authentic document that a defendant

   attaches as an exhibit to a motion to dismiss if the plaintiffs claims are based on the document"),

   cert. denied, _   U.S. _ , 114 S.Ct. 687, 126 L.Ed.2d 655 (1994).        ALA, Inc. v. CCAIR, Inc.,

   29 F. 3d 855 - Court of Appeals, 3rd Circuit 1994 at 859.


          " [T]he decision to dismiss a complaint should not be entered lightly because it

   "forecloses inquiry into the merits ." Schaedler v. Reading Eagle Publ'n, Inc., 370 F.2d 795 , 798

   (3d Cir. 1967). We also note that it is an abuse of discretion to dismiss an entire complaint if it

   contains some claims that satisfy Rule 8. See Frazier v. Se. Pa. Transp. Auth., 785 92*92 F.2d

   65 , 68 (3d Cir. 1986), abrogated on other grounds by Leatherman v. Tarrant Cty. Narcotics

   Intelligence & Coordination Unit, 507 U.S. 163, 113 S.Ct. 1160, 122 L.Ed.2d 517 (1993) and

   Swierkiewicz v. Sorema N.A. , 534 U.S. 506, 122 S.Ct. 992, 152 L.Ed.2d 1 (2002) (reversing the

   dismissal of the entire complaint as "broad and conclusory" where the complaint set forth four

   claims with adequate specificity). Garrett v. Wexford Health, 938 F. 3d 69 - Court of Appeals,

   3rd Circuit 2019 at 91-92.


           "[P]leadings must be construed so as to do justice." Fed. R. Civ. P. 8(e). This already

   liberal standard is "even more pronounced" where a plaintiff files the complaint without the

   assistance of counsel. Erickson v. Pardus, 551 U.S. 89, 94, 127 S.Ct. 2197, 167 L.Ed.2d 1081
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 6 of 24 PageID: 216



   (2007) (per curiam); Alston v. Parker, 363 F.3d 229, 234 (3d Cir. 2004); Schaedler, 370 F.2d at

   798.


          Courts are more forgiving of pro se litigants for filing relatively unorganized or

   somewhat lengthy complaints. Wright & Miller, supra, § 1217. This practice is driven by an

   understanding that a court must make reasonable allowances to protect prose litigants from the

   inadvertent forfeiture of important rights due merely to their lack of legal training. See Higgs v.

   Att'y Gen., 655 F.3d 333,339 (3d Cir. 2011). Garrett v. Wexford Health, 938 F. 3d 69 - Court of

   Appeals, 3rd Circuit 2019 at 92.


          "[A] statement of a claim may be "plain" even if it does not include every name, date, and

   location of the incidents at issue. See Frazier, 785 F.2d at 68 ("While plaintiffs may be expected

   to know the injuries they allegedly have suffered, it is not reasonable to expect them to be

   familiar at the complaint stage with the full range of the defendants' practices under challenge.");

   see also Harnage, 916 F .3d at 142 ("[T]he failure to allege specific dates does not necessarily run

   afoul of Rule 8, especially where ... the plaintiff lacks ready access to his medical records.").


          Missing details or superfluous material do not necessarily render a complaint

   unintelligible. Indeed, even if it is vague, repetitious, or contains extraneous information, a pro

   se complaint's language will ordinarily be "plain" if it presents cognizable legal claims to which

   a defendant can respond on the merits. Alston, 363 F.3d at 234; Bethea v. Reid, 445 F.2d 1163,

   1165 (3d Cir. 1971); see also Ruby Foods, 269 F.3d at 820 (prose complaint, though prolix,

   "appears to state a claim that would withstand challenge under Fed. R. Civ. P. 12(b)(6)");

   Simmons, 49 F.3d at 87-88 (concluding that "[t]hough perhaps some details [were] lacking" and

   "extraneous details" were included, "it [was] evident that defendants understood the nature of

   Simmons's claims" based on their response to it). Garrett v. Wexford Health, 938 F. 3d 69 -

   Court of Appeals, 3rd Circuit 2019 at 93-94.
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 7 of 24 PageID: 217



          "[T]o survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a

   complaint must contain "a short and plain statement of the claim showing that the pleader is

   entitled to relief." Fed. R. Civ. P. 8(a)(2). The complaint must set forth enough factual

   allegations to "state a claim to relief that is plausible on its face." Bell Atl. Corp. v. Twombly,

   550 U.S. 544,570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007).


          A facially plausible claim is one that permits a reasonable inference that the defendant is

   liable for the misconduct alleged. Ashcroft v. Igbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173

   L.Ed.2d 868 (2009). When assessing the merits of a Rule 12(b)(6) motion, we accept as true all

   factual allegations in the complaint and view those facts in the light most favorable to the non-

   moving party. Umland v. PLANCO Fin. Servs .• Inc., 542 F.3d 59, 64 (3d Cir. 2008).


          "To decide a motion to dismiss, courts generally consider only the allegations contained

   in the complaint, exhibits attached to the complaint[,] and matters of public record." Pension

   Benefit Guar. Corp. v. White Consol. Indus .• Inc., 998 F .2d 1192, 1196 (3d Cir. 1993). Doe v.

   University of Sciences, 961 F. 3d 203 - Court of Appeals, 3rd Circuit 2020 at 208.


                                PLAINTIFF'S OBJECTIONS TO
                             DEFENDANT'S FACTUAL STATEMENTS

       1. The Defendants state in their motion to dismiss, page 9, "the court determined that the
   ACPO Defendants made a prima facie case that Plaintiff committed one count of fourth-
   degree cyber harassment, Plaintifr s language was protected by the First Amendment of
   the United States Constitution and Article I, paragraph 6 of the New Jersey Constitution,
   and the matter was dismissed".

          The court determined that the prosecutor did not present any evidence of cyber

   harassment. The email submitted by the prosecutor did not contain any threats from Marc

   Stephens, which is why the case was dismissed. The prosecutor is smart enough to know that, if

   Marc Stephens' speech is protected, it is then impossible to obtain probable cause and submit a

   "fabricated" complaint and "false" evidence to a grand jury for cyber harassment. " [O]fficers of

   the court have no immunity, when violating a Constitutional right, from liability. For they are
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 8 of 24 PageID: 218



   deemed to know the law." Owen v. Independence, 100 S.C.T. 1398, 445 US 622. The

   prosecutor' s office, Attorney General, Detective Matteoli, and Robert Blaskiewics, in violation

   of 18 U.S . Code § 242 - Deprivation ofrights under color of law, all conspired to file false

   charges against Marc Stephens, in an attempt to suppress the videos, in Stephens' possession, of

   Blaskiewics and his "Skeptics Society" members engaging in criminal and pedophile activity.

   As Judge Pamela D' Arey stated in her opinion, "The defendant threatened to release an

   apparently incriminating video about the victim", ECF 1-2, page 62.

       2. The Defendants state in their motion to dismiss, page 9, "Plaintiffs complaint seems to
   be comprised of many baseless conspiracy theories and alleged cyber-attacks that Professor
   Blackiewicz, and his members known as the "Skeptic Society," allegedly orchestrated on
   Plaintiff and members of his family".


          The Attorney General, without any investigation, states Plaintiffs complaint is

   "Baseless" "Conspiracy Theories" despite the fact defendant Robert Blaskiewicz and his

   pedophile organization admits, in writing, that they are harassing, hacking, and attacking

   Plaintiff Marc Stephens and Dr. Burzynski. Blaskiewicz and his skeptics "Admit" to placing a

   death threat at Plaintiffs mother house in Englewood, New Jersey, ECF 1-2, page 7.

   Blaskiewicz and his "skeptics" left a "death threat" and "hacked" a website according to police,

   ECF 1-2, page 8. Blaskiewicz and his skeptics "Admit" to "mob like" attacks against Marc

   Stephens, ECF 1-2, page 9, and "Admit" they are Pedophiles, ECF 1-2, page 10,


       3. The Defendants state in their motion to dismiss, page 11 , "Mattioli testified of the
   interactions that Plaintiff and Professor Blackiewicz had through emails and blog posts".
          Marc Stephens~ communicated with Blaskiewicz via a blog. The Defendants

   created a fake account and fabricated the blog communications, which the court states Mattioli

   never describe the communication in the blog, ECF 1-2, page 59, paragraph #4.
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 9 of 24 PageID: 219



                                         LEGAL ARGUMENT


                                                 POINT I
   THE ELEVENTH AMENDMENT SOVEREIGN IMMUNITY DOES NOT BAR ALL
   CLAIMS AGAINST THE MOVING DEFENDANTS .

       "[T]his suit is not one against the State of New Jersey within the meaning of the Eleventh

   Amendment" . "[N]o man in this country is so high that he is above the law. No officer of the law

   may set that law at defiance with impunity. All the officers of the Government, from the highest

   to the lowest, are creatures of the law, and are bound to obey it." Tindal v. Wesley, 167 US 204 -

   Supreme Court 1897 at 217.


       In the Summons and Complaint, it states, "All defendants sued individually and in official

   capacity". ECF 1-3. If a plaintiff can demonstrate that the government's action was done in bad

   faith, the plaintiff can receive damages despite sovereign immunity. Typically, if a party can

   demonstrate that the government intentionally acted wrongly with the sole purpose of causing

   damages, that party can recover for injury or economic losses. Under the "abrogation doctrine",

   while Congress cannot use its Article I powers to subject states to lawsuits in either federal

   courts, Seminole Tribe v. Florida, or a fortiori its own courts, Alden, supra, it can abrogate a

   state's sovereign immunity pursuant to the powers granted to it by §5 of the Fourteenth

   Amendment, and thus subject them to lawsuits. Seminole, supra; Fitzpatrick v. Bitzer. The

   "stripping doctrine" permits a state official who used his or her position to act illegally to be sued

   in his or her individual capacity. A state is not a "person" under section 1983, but a city is a

   person under the law (Will v. Michigan Department of State Police, 491 U.S. 58, 109 S. Ct.

   2304, 105 L. Ed. 2d 45 [1989]). Similarly, state officials sued in their official capacities are not

   deemed persons under section 1983, but if sued in their personal capacities, they are considered

   to be persons. Thus, if a plaintiff wants to bring a section 1983 claim against a state official, she

   or he must name the defendants in their "personal capacity", and not in their professional

   capacity. "Every person who, under color of any statute, ordinance, regulation, custom, or usage,
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 10 of 24 PageID: 220



    of any State ... subjects or causes to be subjected, any citizen of the United States ... to the

    deprivation of any rights, privileges, or immunities secured by the Constitution and laws, shall

    be liable to the party injured in an action at law, suit in equity, or other proper proceeding for

    redress." Brandon v. Holt, 469 US 464 - Supreme Court 1985. "We therefore hold that

    government officials performing discretionary functions, generally are shielded from liability for

    civil damages insofar as their conduct does not violate clearly established statutory or

    constitutional rights of which a reasonable person would have known" . See Procunier v.

    Navarette, 434 U.S. 555, 565 (1978); Wood v. Strickland, 420 U.S., at 322. Harlow v.

    Fitzgerald, 457 US 800 - Supreme Court 1982 at 818. "Officers of the court have no immunity,

    when violating a Constitutional right, from liability. For they are deemed to know the law."

    Owen v. Independence, 100 S.C.T. 1398, 445 US 622.


                                                  POINT II

    ALL CIVIL RIGHTS CLAIMS AGAINST THE PROSECUTOR DEFENDANTS
    SHOULD NOT BE DISMISSED BECAUSE OFFICERS OF THE COURT HAVE NO
    IMMUNITY WHEN VIOLATING CONSTITUTIONAL RIGHTS.

           As discussed in Point I, "Officers of the court have no immunity. when violating a

    Constitutional right, from liability. For they are deemed to know the law." Owen v.

    Independence, 100 S.C.T. 1398, 445 US 622. "A government employee can be sued in his or her

    personal or official capacity, or both. Kentucky v. Graham, 473 U.S. 159, 165-66 (l 985)

    (quoting Monell v. New York City Department of Social Services , 436 U.S. 658, 690, n.55).

    [T]he phrase ' acting in their official capacities' is best understood as a reference to the capacity

    in which the state officer is sued, not the capacity in which the officer inflicts the alleged injury.

   Hafer v. Melo, 502 U.S . 21 (l 991 ). In "official capacity" suits, the government agency must

   comply with the injunction or pay the damage award. In personal capacity suits, the employee is

   liable, although agency indemnification is the usual practice. However, the fact that the official
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 11 of 24 PageID: 221



    was on the job when he or she deprived the plaintiff of federal rights does not shield the

    government agent from personal liability and convert the action into an "official capacity" suit.


           "[S]ince Ex parte Young, 209 U. S. 123 (1908), it has been settled that the Eleventh

    Amendment provides no shield for a state official confronted by a claim that he had deprived

    another of a federal right under the color of state law. Ex parte Young teaches that when a state

    officer acts under a state law in a manner violative of the Federal Constitution, he "comes into

    conflict with the superior authority of that Constitution, and he is in that case stripped of his

    official or representative character and is subjected in his person to the consequences of his

    individual conduct. The State has no power to impart to him any immunity from

    responsibility to the supreme authority of the United States." Scheuer v. Rhodes, 416 US 232 -

    Supreme Court 1974 at 237. "[T]he prosecutor of the pleas and his assistants are charged with

    the obligation to act in due accordance with the law in the discharge of their public duties,

    particularly by initiating such a proceeding by filing a complaint in a proper manner as

    established by the prevailing practice" . "[I]f the presumption is overcome by convincing proof

    that they acted in excess of and distinct from their required official duty for personal reasons of

    their own, then for such acts they are civilly liable". Earl v. Winne, I 01 A. 2d 535 - NJ:

    Supreme Court 1953 at 134.

                                                POINT III
    DETECTIVE MICHAEL MATTIOLI DOES NOT ENJOYS ABSOLUTE WITNESS
    IMMUNITY FOR FABRICATING EVIDENCE TO A GRAND JURY
           Pursuant to Scheuer v. Rhodes, 416 US 232 - Supreme Court 1974, in which the Court

    held that plaintiffs were not barred by the Eleventh Amendment or other immunity doctrines

    from suing the governor and other officials of a state alleging that they deprived plaintiffs of

    federal rights under color of state law and seeking damages, when it was clear that plaintiffs

   were seeking to impose individual and personal liability on the officials. The purpose of§ 1983

   was to provide a remedy for State action aimed at depriving persons of rights protected by the
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 12 of 24 PageID: 222



    Constitution and Federal Laws. Popow v. City of Margate, 476 F.Supp. 1237, 1243 (D.N.J.

    1979). "A police officer who fabricates evidence against a criminal defendant to obtain his

    conviction violates the defendant's constitutional right to due process of law". Halsey v. Pfeiffer,

    750 F. 3d 273 - Court of Appeals, 3rd Circuit 2014 at 279.


            " It is settled law that "officers who conceal and misrepresent material facts to the district

    attorney are not insulated from a § 1983 claim for malicious prosecution simply because the

    prosecutor, grand jury, trial court, and appellate court all act independently to facilitate erroneous

    convictions." Pierce, 359 F.3d at 1292; see also Ricciuti, 124 F.3d at 130; Jones v. City of

    Chicago, 856 F.2d 985 , 994 (7th Cir.1988). If the officers influenced or participated in the

    decision to institute criminal proceedings, they can be liable for malicious prosecution. Sykes v.

    Anderson, 625 F.3d 294, 308-09, 317 (6th Cir.2010)" . Halsey v. Pfeiffer, 750 F. 3d 273 -Court

    of Appeals, 3rd Circuit 2014 at 297-298. "A police officer's fabrication and forwarding to

    prosecutors of known false evidence works an unacceptable ' corruption of the truth-seeking

    function of the trial process."' Id . (quoting, inter alia, United States v. Agurs, 427 U.S. 97, 104,

    96 S.Ct. 2392, 2397, 49 L.Ed.2d 342 (1976)). "Falsification of evidence, like other "bad-faith

    conduct," can be "probative of a lack of probable cause." Peterson v. Bernardi, 719 F.Supp.2d

    4 I 9, 428 (D.N .J .20 I 0). But that view is reconcilable with a conclusion that there is an

    independent falsification claim for "[ c]ertain wrongs affect more than a single right and,

    accordingly, can implicate more than one of the Constitution's commands." Soldal v. Cook

    Cnty., 506 U.S . 56, 70, 113 S.Ct. 538, 548, 121 L.Ed.2d 450 (1992); see also Gregory v. City of

   Louisville, 444 F.3d 725 , 750-54 (6th Cir.2006) (reversing district court's conclusion that one

    factual premise could not form the bases of separate claims of constitutional violations under

    section 1983), Halsey v. Pfeiffer, Court of Appeals, 3rd Circuit 2014 at 293. " If a defendant has

   been convicted at a trial at which the prosecution has used fabricated evidence, the defendant has

   a stand-alone claim under section 1983 based on the Fourteenth Amendment if there is a
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 13 of 24 PageID: 223



    reasonable likelihood that, without the use of that evidence, the defendant would not have been

    convicted", Halsey v. Pfeiffer, Court of Appeals, 3rd Circuit 2014 at 294-295.


           " It has been an axiomatic principle of our justice system that "those charged with

    upholding the law are prohibited from deliberately fabricating evidence and framing individuals

    for crimes they did not commit." Lim one v. Condon, 3 72 F .3d 39, 45 (I st Cir.2004).

    "Reasonable officers should have known that if they could not withhold exculpatory evidence

    from a defendant, they certainly could not fabricate inculpatory evidence against a suspect or

    defendant", Halsey v. Pfeiffer, Court of Appeals, 3rd Circuit 2014 at 296. "If fabricated

    evidence is used as a basis for a criminal charge that would not have been filed without its use

    the defendant certainly has suffered an injury" . Halsey v. Pfeiffer, Court of Appeals, 3rd Circuit

    2014, at 309 footnote 19. The United States Supreme Court has made it "clear that procedural

    regularity notwithstanding, the Due Process Clause is violated by the knowing use of perjured

    testimony or the deliberate suppression of evidence favorable to the accused ." (Albright v. Oliver

    (1994) 510 U.S. 266, 299 [127 L.Ed.2d 114, 114 S.Ct. 807] (dis. opn. of Stevens, J.).)


            "[B]y barring certain government actions regardless of the fairness of the procedures used

    to implement them ... [the due process clause] serves to prevent governmental power from being

    ' used for purposes of oppression.'" (Daniels v. Williams (1986) 474 U.S. 327, 331 [88 L.Ed.2d

    662, 106 S.Ct. 662] ; cf. Collins v. Harker Heights (1992) 503 U.S. 115, 127, fn. 10 [117 L.Ed.2d

    261 , 112 S.Ct. 1061] [due process clause was intended to protect individual from arbitrary

    exercise of government powers].) "[l]f such be the law of this country, it sanctions a tyranny

    which has no existence in ... any other government which has a just claim to well-regulated

    liberty and the protection of personal rights". Tindal v. Wesley, 167 US 204 - Supreme Court

    1897 at 217.
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 14 of 24 PageID: 224



                                                  POINT IV

    QUALIFIED IMMUNITY DOES NOT BAR PLAINTIFF MARC STEPHENS' CLAIMS
    AGAINST DETECTIVE MICHAEL MATTIOLI AND FORMER AG GURBIR
    GREWAL IN THEIR INDIVIDUAL CAPACITY

            The doctrine of qualified immunity shields government officials from civil liability so

    long as "their conduct does not violate clearly established statutory or constitutional rights of

    which a reasonable person would have known." Santini v. Fuentes, 795 F.3d 410, 417 (3d Cir.

    2015) (quotation marks omitted) (quoting Harlow v. Fitzgerald, 457 U.S . 800, 818 (1982)). "The

    standard gives ample room for mistaken judgments by protecting all but the plainly incompetent

    or those who knowingly violate the law." Smith v. Twp. of Clinton, 791 Fed. Appx. 363, 366 (3d

    Cir. 2019). The doctrine of qualified immunity "balances two important interests - the need to

    hold public officials accountable when they exercise power irresponsibly and the need to shield

    officials from harassment, distraction, and liability when they perform their duties reasonably."

    Pearson v. Callahan, 555 U.S. 223 , 231 (2009). Under this doctrine, government officials are

    immune from liability for civil damages as long as their conduct "does not violate clearly

    established statutory or constitutional rights of which a reasonable person would have known."

    Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982); Kelly v. Borough of Carlisle, 622 F.3d 248,253

    (3d Cir. 2010). Qualified immunity will not, however, act as a shield for "the official who

    knows or should know he is acting outside the law." Butz v. Economou, 438 U.S . 478, 506-07

    (1978). In each case, the government's interests must be balanced against the citizens ' interest in

    vindicating their constitutional rights, as well as the public interest in holding officials

    accountable "when they exercise power irresponsibly." Pearson, 555 U.S . at 231.

    The qualified immunity claim is traditionally analyzed in two steps. First, the court must decide

    whether the facts alleged, taken light most favorable to the plaintiff, makes out the violation of a

    constitutional right. Saucier v. Katz, 533 U.S. 194, 121 (2001 ). Next, the court must examine

    whether the right at issue was "clearly established" such that a reasonable official would have
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 15 of 24 PageID: 225



    known that his conduct was unlawful. The Supreme Court held in Pearson that the two prong

    Saucier sequence should "no longer be regarded as mandatory."


           "The law in this Circuit was also clear that an officer who ignores a realistic opportunity

   to intervene on another officer' s actions violates an individual ' s constitutional rights". Smith v.

   Mensinger, 293 F .3d 641 , 650-51 (3d Cir. 2002). "Qualified immunity does not protect police

    officers who are "plainly incompetent or those who knowingly violate the law." Malley v.

    Briggs, 475 U.S. 335, 341 , 106 S.Ct. 1092, 1096, 89 L. Ed.2d 271 , 278 (1986).


           The common law has never granted police officers an absolute and unqualified immunity

   Pierson v. Ray, 386 US 547 - Supreme Court 1967, at 555 . "Although qualified immunity is a

   question of law determined by the Court, when qualified immunity depends on disputed issues of

   fact, those issues must be determined by the jury." Monteiro v. City of Elizabeth, 436 F.3d 397,

   405 (3d Cir. 2006).

                                                 POINTY

    PLAINTIFF'S TORT CLAIMS ARE NOT BARRED BECAUSE HE HAS ALLEGED
    COMPLIANCE WITH THE MANDATORY NOTICE PROVISION OF THE TCA

       On January 5, 2022, the court heard oral arguments from both the Prosecutor and Plaintiff

    Marc Stephens. The Judge issued an Opinion, and ruled in favor of Stephens, dismissing the

    indictment, see plaintiff's complaint EXHIBIT 32 (aSS-60). The court warned Marc Stephens

   that the prosecutor could still file charges against him and retry the case. On January 27, 2022,

   the prosecutor confirmed that they will not be re-trying the case against Marc Stephens,

   EXIDBIT 33 (a61). On March 3, 2022 , Marc Stephens contacted the defendants for their

   Notice of Tort Claim form , attached hereto as EXHIBIT A. On April 5, 2022 , Marc Stephens

   forwarded a Notice of Tort claim to the Stockton defendants legal counsel Ellen Bailey via mail

   and email, in which she confirmed receipt, EXHIBIT B. The Attorney General Defendants

   claimed they did not receive it, and advised Plaintiff to forward the notice of tort or complaint to

   email address NJAG.ElectronicService.CivilMatters@law.njoag.gov , attached hereto as
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 16 of 24 PageID: 226



    EXHIBIT C and D. Marc Stephens requested for "Waiver of Service", which gives defendant

    more time to investigate the claims.


    B. Marc Stephens has up to 1 year to file a Notice of Tort Claim

        N.J.S.A. 59:8-9 permits the filing of a motion for leave to file a late notice. This motion

    may be granted if the claimant has shown "sufficient reasons constituting extraordinary

    circumstances for his failure to file notice of claim" within the statutory period of ninety days,

    and "that the public entity or the public employee has not been substantially prejudiced thereby."

    Plaintiff still has not received the Final Judgment and Order from the court.


    C. Marc Stephens is proceeding as Pro Se and carelessness and negligence may be
    excusable

        Stephens filed his notice of tort on time. Even if he didn't, "[C]arelessness may be

    excusable when attributable to an honest mistake that is compatible with due diligence and

    reasonable prudence." Housing Authority of Town of Morristown v. Little, 135 N.J. 274,284

    (N .J. , 1994). "At every stage of the proceeding, the court must disregard all errors and defects

    that do not affect any party's substantial rights", United States v. Olano, 507 US 725 - Supreme

    Court 1993. "[w]e have~ been a judicial system that goes on total complete technicality",

    Bank v. Kim, 825 A. 2d 566 - NJ: Appellate Div. 2003 at 574. Accordingly, this Court can and

    should excuse inadvertent failures to comply with the Court's rules when they result from the

    difficulties inherent in proceeding prose. Cf. Schacht v. United States, 398 U.S. 58, 64 (1970)

    ("The procedural rules adopted by the Court for the orderly transaction of its business ... can be

    relaxed by the Court in the exercise of its discretion when the ends of justice so require."). "Our

    rules of procedure are based on the assumption that litigation is normally conducted by

    lawyers", McNeil v. United States, 508 US 106 - Supreme Court 1993 at 113.
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 17 of 24 PageID: 227



   D. Plaintiff substantially complied with the state statues, and the court should not dismiss
   the case base on technicalities.

        N.J.S.A. 59:8-4 is "designed to provide the public entity with sufficient information to

   enable it promptly to evaluate its liability and potential exposure and, if it chooses, to correct a

   defective condition and also to engage in settlement negotiations prior to the commencement of

   suit." Newberry v. Twp. of Pemberton, 319 N .J. Super. 671 , 675 (App. Div . 1999). Substantial

   Compliance, " is a doctrine based on justice and fairness , designed to avoid technical rejection of

    legitimate claims. Zamel, supra, 56 N.J. at 6, 264 A.2d 201 ", Galik v. Clara Maass Med. Center,

   771 A. 2d 1141 - NJ: Supreme Court 2001 at 1148-49. Indeed, the Legislature did not intend "to

   ' create a minefield of hyper-technicalities in order to doom innocent litigants possessing

   meritorious claims."' Ryan, supra, 203 N .J. at 51 , 999 A.2d 427 (quotation omitted), Ryan v.

   Renny. 999 A. 2d 427 - NJ: Supreme Court 2010 at 435-436.


   E. State Statutes do not supersede common law and constitutional rights to due process
   and right to trial.

        "Where rights secured by the Constitution are involved, there can be no rule making or

    legislation which would abrogate them ." Miranda v. Arizona, 384 US 436 at 491. No right

    granted or secured by the Constitution of the United States can be impaired or destroyed by a

    state enactment". Connolly v. Union Sewer Pipe Co., 184 US 540 at 558.

        Right to Due Process: The 5th and 14th Amendment of the Constitution of the United States

   reads, "No person shall be deprived of life, liberty, or property, without due process of law". "At

    its core, the right to due process reflects a fundamental value in our American constitutional

   system", Boddie v. Connecticut, 401 US 371 - Supreme Court 1971 at 374. The United States

   Supreme Court held that due process is violated "if a practice or rule offends some principle of

   justice so rooted in the traditions and conscience of our people as to be ranked as fundamental" ,

   Snyder v. Massachusetts, 291 U.S. 97 (1934 ).
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 18 of 24 PageID: 228



        Right to Trial: The seventh Amendment to the Constitution of the United States reads, "In

    Suits at common law, where the value in controversy shall exceed twenty dollars, the right of

    trial by jury shall be preserved", Colgrove v. Battin, 413 US 149 - Supreme Court 1973 at 152.

    "The Seventh Amendment, which was included in the Bill of Rights in 1791 and which has not

    since been repealed in the only manner provided by the Constitution for repeal of its provisions".

    Parklane Hosiery Co. v. Shore, 439 US 322 - Supreme Court 1979 at 338. "a provision of the

    Bill of Rights that protects a right that is fundamental from an American perspective applies

    equally to the Federal Government and the States . See Duncan, 391 U.S., at 149, and n. 14, 88

    S.Ct. 1444". McDonald v. City of Chicago, Ill. , 130 S. Ct. 3020 - Supreme Court 2010 at 3050.

    The court is "free to regulate the procedure of its courts in accordance with its own conception of

   policy and fairness unless in so doing it offends some principle of justice so rooted in the

   traditions and conscience of our people as to be ranked as fundamental". Twining v. New

    Jersey. 211 U.S . 78, 106, 111 , 112; Rogers v. Peck, 199 U.S. 425 , 434; Maxwell v. Dow, 176

    U.S. 581 , 604; Hurtado v. California, 110 U.S. 516; Frank v. Mangum, 237 U.S. 309,326;

    Powell v. Alabama, 287 U.S. 45 , 67.

    F. The defendants will not be prejudice and can request for more time to investigate the
    Plaintiff's claims

        "Prejudice involves impairment of defendant's ability to defend on the merits, rather than

    foregoing such a procedural or technical advantage." National Union Fire Ins. Co. v. Barney

    Assoc., 130 F.R.D. 291 , 294 (S.D.N.Y. 1990)." US v. Kushner, Dist. Court, D. New Jersey 2018.

                                            CONCLUSION

        The Plaintiff is respectfully asking the court to dismiss defendants motion, and set a

   discovery schedule.
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 19 of 24 PageID: 229



   Dated: July 22, 2022


   Respectfully submitted,

   S// Marc Stephens
   Marc A. Stephens
   Plaintiff, pro se
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 20 of 24 PageID: 230




                                                       EXHIBIT A

              Gmail                                                            Marc Stephens <marcstephens3@gmall.com>



     Notice of Tort and Civil Complaint
     Marc Stephens <marcstephens3@gmail.com>                                                       Tue , Apr 5, 2022 at 11 :57 AM
     To: "Bailey, Ellen" <Ellen.Bailey@stockton.edu>

       Good Morning,

      Attached please find a courtesy copy of my civil complaint and exhibits filed with the District Court in Newark. Once
      the complaint is on the docket, I will forward a stamped copy and serve the Summons and Complaint.

       Regards,

       Marc Stephens
       Plaintiff, pro se



       2 attachments

       ~    Civil Complaint • Cyber 4-4-22.pdf
            293K

       ~    0 EXHIBITS 4-4-22.pdf
            25173K
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 21 of 24 PageID: 231




                                                  EXHIBITB

             Gmail                                                          Marc Stephens <marcstephens3@gmall.com>



     Notice of Tort and Civil Complaint
     Bailey, Ellen <Ellen.Bailey@stockton.edu>                                                 Tue, Apr 5, 2022 at 3:13 PM
     To: Marc Stephens <marcstephens3@gmail.com>


      Good afternoon Marc Stephens :



      Formal service of the complaint should be made to the Stockton University Office of General Counsel, 101 Vera King
      Farris Dr., West Quad 110, Galloway, NJ 08205. Please note that the University ban prohibiting you from entering
      onto University property remains in effect.



      Thank you .



      Ellen D. Bailey, Esq.

      Deputy General Counsel

      Stockton University Office of General Counsel

      T: 609-626-5571    I F: 609-626-3843
      ellen.bailey@stockton .edu
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 22 of 24 PageID: 232




                                                    EXHIBIT C
                Gmail                                                            Marc Stephens <marcstephens3@gmail.com>



     SUMMONS AND COMPLAINT: Marc Stephens vs GREWAL et al - Case No: 1:22-cv-
     01989-KMW-SAK
     Marc Stephens <marcstephens3@gmail.com>                                                           Fri, Apr 22, 2022 at 3:44 PM
     To: Kelli Danieli <KDanieli@gtnj.org>, "Bailey, Ellen" <ellen.bailey@stockton.edu>, Paige Jedlicka <jedlicka_p@acpo.org>,
     Robert.Blaskiewicz@stockton.edu, NJAG.ElectronicService.CivilMatters@law.njoag.gov

       To Defendants: NJ Attorney General, Stockton University, Robert Blaskiewicz, Jr., Galloway Township, Detective
       Sergeant Michael Matteoli, Atlantic County Prosecutor.

       Attached please find a copy of:

              1. the Summons and Complaint
              2. Exhibits
              3. First request to waive service


       Regards,

       Marc Stephens
       Plaintiff, pro se




       4 attachments

       ~      Summons FILED 4-19-22.pdf
              471K

       ~      Civil Complaint • FILED 4-4-22.pdf
              11701K

       V:;J   O EXHIBITS FILED 4-4-22_compressed.pdf
              7663K

       V:;J   First request to waive service 4-22-22.pdf
              193K
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 23 of 24 PageID: 233




                                                   EXHIBITD

              Gmail                                                             Marc Stephens <marcstephens3@gmail.com>



    SUMMONS AND COMPLAINT: Marc Stephens vs GREWAL et al - Case No: 1 :22-cv-
    01989-KMW-SAK
    NJAG.ElectronicService.CivilMatters
                                                                                                   Sun, Apr 24, 2022 at 10:17 PM
    <NJAG.ElectronicService.CivilMatters@law.njoag.gov>
    To: Marc Stephens <marcstephens3@gmail.com>


      You,- ~ w~ rece.w~
      few review




      fl.l.e,n, Selt:'lf
     A9-e+10' Senti,ee,,'ReJJY~we,



     From: Marc Stephens <marcstephens3@gmail.com>
     Sent: Friday, April 22, 2022 6:20 PM
     To: Blaskiewicz, Robert <Robert.Blaskiewicz@stockton .edu>
     Cc: Bailey, Ellen <Ellen.Bailey@stockton.edu>; Kelli Danieli <KDanieli@gtnj .org>; Paige Jedlicka
     <jedlicka_ p@acpo.org>; NJAG .ElectronicService.CivilMatters <NJAG .ElectronicService.
     C ivilMatters@law.njoag .gov>
     Subject: [EXTERNAL) Re : SUMMONS AND COMPLAINT: Marc Stephens vs GREWAL et al - Case No: 1:22-cv-01989-
     KMW-SAK

      (Quoted text hidden]
     CONFIDENTIALITY NOTICE The information contained in this communication from the Office of the New Jersey Attorney
     General is privileged and confidential and is intended for the sole use of the persons or entities who are the addressees.
     If you are not an intended recipient of this e-mail, the dissemination, distribution. copying or use of the information it
     contains is strictly prohibited. If you have received this communication in error, please immediately contact the Office of
     the Attorney General at (609) 292-4925 to arrange for the return of this information.
Case 1:22-cv-01989-KMW-MJS Document 17 Filed 07/25/22 Page 24 of 24 PageID: 234




                                                                                          -. . . -   .
                                                   _;_,.,.
                                                                         y~ t::; ;';:;·: :~ fi{,;.;_\ .
                                                                        REC D
                                               ~



                                   MARC
                                   (201 l. STEP,HEHlf ,i
                                            59Q-6$Jl-''
                                   i/l,~!i~ONf                l ;I . •I:: Jit'   '/9
                                                                                 .• ,, ' ,- I• ~
                                                                                               t ,.· -
                                                                                        ;~~~~i5 I l;~B;022
                                                                                             i_.
                                                                                                            LBS                   1 OF 1


                                   :.   · ·,. i l1~                       JUL2 5 2022 tJi~~. ~ ---~-;,-
                                   SH IP Cl.ERK                   OFF I CE   -           -       ~" :~•'-
                                   ro : ~RTil N bUJ ~ I NG US COURTHOUt -· f                                                 . :
                                       , 5~ WALNUl'l-~J.....~ ., ,.., _ M 1 ·f:                                              ,,
                                        - ..       .              W\L '""' , .   -h:.!AL.~H, CL-ERK _- .: 1;                 .


                                                                                    ~·- ~~-~ -~~~;
                                  t..ei:1~>·1·~-->
                                   v.
                                          •"lo':-.·.~..,
                                               ~ ...
                                                             .,   W).

                                                                  ~
                                                                            NJ 0?1 ~-02
                                  .~t.ti      •·f~.\:·
                                     .. ,_,~ >s!,:
                                   r~.<w'~                                       1111111111111111 II II .
                                  UPS     GROUND
                                  TRACK I NG# : 12 443 5Y8 03 6800 3566




                                   BILLING : P.IP




                                                                  a~''-"-'"
                                                              . ~A,"_d,J\.                           l &H   13.Hf   ZZP 468 n . &U   es1aeaa
